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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------X

 United States of America,                               CR-02-1327(CPS)

       - against -
                                                         MEMORANDUM OPINION
 Jose Diaz,                                              AND ORDER
                         Defendant.
 -----------------------------------X

 SIFTON, Senior Judge.

       Defendant Jose Diaz (“Diaz” or “defendant”) pleaded guilty

 on July 22, 2003 to conspiracy to distribute and possess with

 intent to distribute at least 50 grams of cocaine base, at least

 one kilogram of heroin, at least five kilograms of cocaine, and

 MDMA in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A).

 Defendant has been in custody since his November 12, 2002 arrest.

 Now before this Court is the Court’s sua sponte motion, and a

 subsequent motion by the defendant, pursuant to 18 U.S.C. §

 3582(c)(2), to modify defendant’s sentence.             For the reasons

 stated below, defendant’s sentence is reduced to time served.

                                 Background

       Defendant pleaded guilty on July 22, 2003 to conspiracy to

 distribute and possess with intent to distribute at least 50

 grams of cocaine base, at least one kilogram of heroin, at least

 five kilograms of cocaine, and MDMA in violation of 21 U.S.C. §§

 846 and 841(b)(1)(A).      Prior to sentencing, Diaz provided

 substantial assistance to the government, as detailed in a letter

 from the government dated December 5, 2003.             At defendant’s
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 December 18, 2003 sentencing, I adopted the Presentence

 Investigation Report’s (“PSR”) factual findings and United States

 Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) calculation,

 except I reduced the adjusted offense level beyond that

 recommended in the PSR based on a global plea.             I thus determined

 that defendant was accountable for the equivalent of 41,125

 kilograms of marijuana and that his adjusted offense level was

 39.1   With a Criminal History Category (“CHC”) of III,

 defendant’s Guidelines range was 324 to 405 months.               Based on

 defendant’s substantial assistance, however, I departed from this

 range and sentenced defendant to a term of 96 months.

        After sentencing, defendant continued to cooperate and the

 government filed a motion, pursuant to Federal Rule of Criminal

 Procedure 35, permitting the Court to further depart from the 96-

 month sentence.     Based on this additional cooperation, the Court

 re-sentenced defendant on March 15, 2006, to a term 84 months.2

        On November 1, 2007, Amendment 706, as further amended by

 Amendment 711, to U.S.S.G. § 2D1.1, Unlawful Manufacturing,

 Importing, Exporting, or Trafficking (Including Possession with

 Intent to Commit These Offenses); Attempt or Conspiracy, took

 effect.    Amendment 706 generally reduces by two levels the base

        1
          The parties state in their submissions that the adjusted offense
 level was 41, but the Judgment correctly states the adjusted offense level as
 39.
        2
          Defendant appealed this sentence.   His appeal apparently remains
 pending in the Second Circuit.
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 offense levels applicable to cocaine base (“crack”) offenses.                   On

 December 11, 2007, the United States Sentencing Commission (the

 “Sentencing Commission”) voted to apply the amendment

 retroactively to crack offenses, effective March 3, 2008.                 The

 Sentencing Commission also promulgated amendments to Policy

 Statement § 1B1.10, Reduction in Term of Imprisonment as a Result

 of Amended Guidelines Range, which implements the retroactive

 application of Amendment 706, as amended by Amendment 711,

 effective March 3, 2008.

       On February 14, 2008, the Court issued an order for the

 government to show cause why the defendant’s sentence should not

 be modified.      On March 13, 2008, the defendant, through counsel,

 moved for a modification of sentence to time served.

                                    Discussion

       Pursuant to 18 U.S.C. § 3582(c)(2), the Court may modify the

 sentence of a defendant whose term of imprisonment was based on a

 sentencing range that has since been lowered by the Sentencing

 Commission.3      Because the Sentencing Commission voted to apply


       3
           18 U.S.C. § 3582 provides, in relevant part:

       Modification of an imposed term of imprisonment. –– The court may not
       modify a term of imprisonment once it has been imposed except that –- in
       the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the
       Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of the
       defendant or the Director of the Bureau of Prisons, or on its own
       motion, the court may reduce the term of imprisonment, after considering
       the factors set forth in section 3553(a) to the extent that they are
       applicable, if such a reduction is consistent with applicable policy
       statements issued by the Sentencing Commission.
 18 U.S.C. § 3582(c)(2).
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 Amendment 706 retroactively, I may consider defendant’s

 eligibility for a reduction in his sentence.             Under the amended

 Sentencing Guidelines, defendant’s adjusted offense level becomes

 37 which, with a CHC of III, suggests, at the low end, a term of

 imprisonment of 262 months.

       Generally, a reduced sentence may not be lower than the

 amended guideline range.      U.S.S.G. § 1B1.10(b)(2)(A), p.s.

 However, U.S.S.G. § 1B1.10(b)(2)(B), p.s., provides that “[i]f

 the original term of imprisonment imposed was less than the term

 of imprisonment provided by the guidelines range applicable to

 the defendant at the time of sentencing, a reduction comparably

 less than the amended guideline range determined under

 subdivision (1) may be appropriate.          However, if the original

 term of imprisonment constituted a nonguideline [sic] sentence

 determined pursuant to 18 U.S.C. § 3553(a) and United States v.

 Booker, 543 U.S. 220 (2005), a further reduction generally would

 not be appropriate.”

       The government contends that, while a reduction may appear

 appropriate in this case under the first sentence of U.S.S.G. §

 1B1.10(b)(2)(B), p.s., it is foreclosed by the second sentence

 since it considers defendant’s March 15, 2006 sentence to be a

 non-guideline sentence.      Defendant’s ultimate sentence reflected

 a departure below the statutory minimum.            As I could only depart

 below defendant’s statutory minimum sentence of 10 years pursuant
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 to 18 U.S.C. § 3553(e), I agree that defendant’s sentence is not

 a guidelines sentence, though for reasons different than those

 argued by the government.       See United States v. Ortiz, No. 04 Cr.

 268 (HB), 2008 WL 709488, at *5 (S.D.N.Y. Mar. 17, 2008) (“In

 sum, 18 U.S.C. § 3553(e) permits a court to impose a sentence

 below the statutory minimum . . . and U.S.S.G. § 5K1.1 permits a

 court to impose a sentence below the Sentencing Commission’s

 Guideline minimum when the defendant has provided substantial

 assistance”) (emphasis in original).

       In Ortiz, Judge Baer declined to lower the sentence of a

 defendant who had provided substantial assistance to the

 government based on the recent amendments to the crack Sentencing

 Guidelines because the Court, in originally imposing Ortiz’s

 sentence, departed not from the original sentencing range, which

 was 135 to 168 months, but from defendant’s statutory minimum

 sentence, which was 324 months.          Id. at 6.       The Court reasoned

 that, as the statutory minimum was higher than the guideline

 range, defendant’s guideline sentence pursuant to U.S.S.G. §

 5G1.1 was 324 months.      The Court continued by noting, among

 others, a recent Eighth Circuit case that held “a sentence

 reduction was not warranted where the district court had used the

 statutory mandatory minimum ‘as its point of departure’ in the

 original sentence.”      Id. (citing United States v. Johnson, No. 07

 Cr. 1930, 2008 WL 516518, at *4 (8th Cir. Feb. 28, 2008)).                 Thus,
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 the Court concluded, the requirements of 18 U.S.C. § 3582(c)(2)

 were not met because defendant’s guideline range, the statutory

 mandatory minimum, had not been lowered by the Sentencing

 Commission.     Id.

       Diaz’s case is distinguishable and therefore, in this case,

 I need not reach what Judge Baer deemed a “regrettable result.”

 Id. at 7.     Diaz’s initial Sentencing Guideline range was 324 to

 405 months.    By virtue of the recent amendments to the Sentencing

 Guidelines, his new Sentencing Guideline range becomes 262 to 327

 months.    Accordingly, Diaz’s guideline range has been lowered by

 the Sentencing Commission as required by 18 U.S.C. § 3582(c)(2).

       Since I based my departures for substantial assistance on

 the original sentencing range of 324 to 405 months and departed

 from that guideline level, defendant’s original sentence was the

 functional equivalent of a guideline sentence.             Although in

 sentencing defendant initially to 96 months and subsequently to

 84 months I departed below the statutory minimum based upon the

 authority granted by 18 U.S.C. § 3553(e), U.S.S.G. § 5K1.1

 factors “are instructive in determining how much of a departure

 below the statutory minimum is appropriate pursuant to § 3553(e)

 based on the defendant’s substantial assistance.”              United States

 v. Richardson, --- F.3d ----, No. 05 Cr. 7005, 2008 WL 398969 (2d

 Cir. Feb. 15, 2008) (citing Melendez v. United States, 518 U.S.

 120, 129, 116 S.Ct. 2057, 135 L.Ed.2d 427 (1996)).              Thus, this
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 case presents an exception to the general rule limiting reduction

 of non-guideline sentences set forth in U.S.S.G. §

 1B1.10(b)(2)(B), p.s.

       84 months represents 26% of the low end of Diaz’s original

 sentencing range.       Per U.S.S.G. § 1B1.10(b)(2)(B), p.s., 26% of

 262 months is 68 months.4      With this sentence, together with

 defendant’s accrued good-time credit5, defendant would be

 eligible for release after serving approximately 60 months.

 Since defendant has been in custody since November 12, 2002,

 defendant has served more than this reduced term.

       I next consider the 18 U.S.C. § 3553(a) factors, in

 particular, the potential threat of the defendant to the safety

 of the community and the post-sentencing conduct of the

 defendant.    See U.S.S.G. § 1B1.10, p.s., comment.

 (n.1(B)(ii)and(iii)).

       Releasing defendant on March 20, 2008 does not pose a threat

 to the community.       Although defendant has been subject to three

 disciplinary sanctions during his incarceration, for which good

 time credit has been disallowed or phone privileges restricted,


       4
          Defendant argues that the Court should subtract from defendant’s
 amended Sentencing Guidelines range the same amount of months by which it
 originally reduced defendant’s sentence. This is contrary to the language of
 U.S.S.G. § 1B1.10, p.s. See U.S.S.G. 1B1.10, p.s., comment. (n.3); Ortiz,
 2008 WL 709488 at *4. In any event, by either method, defendant is eligible
 for a sentence of time served.
       5
          Inmates receive 54 days per year of good-time credit off their
 sentences. Due to a few minor infractions, 26 days of defendant’s good time
 credit was disallowed.
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 they were for minor infractions: abuse of telephone privileges

 or, on two occasions, possessing a non-hazardous tool.               Otherwise

 defendant has maintained good conduct and worked towards self-

 improvement.    His current work assignment is that of a housing

 unit orderly, where he has received outstanding work performance

 evaluations.    He earned his General Educational Development

 diploma, and completed several other education classes.                 He has

 also attended a drug abuse education program, as well as a

 twelve-week non-residential drug treatment program.               The

 Department of Probation has confirmed that defendant will live

 with his fiancée in the Bronx upon his release.

       Consideration of the 18 U.S.C. § 3553(a) factors, including

 his personal characteristics and criminal history, the nature of

 the underlying offense, the need for protection of the public,

 deterrence, just punishment for the offense and respect for the

 law persuade me that a sentence of time served as of March 20,

 2008 is appropriate.

                                 Conclusion

       For the reasons stated above, defendant’s sentence is

 reduced to time served.      The Court will enter an Amended Judgment

 of Conviction, effective March 20, 2008, reducing the defendant’s

 sentence of imprisonment to time served.            All other terms of the

 original Judgment of Conviction will remain unchanged.               The

 Bureau of Prisons is directed to process defendant for release
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 from custody and to release him on March 20, 2008.              The Clerk is

 directed to transmit a copy of the within to the parties and the

 assigned Magistrate Judge.

 SO ORDERED.

 Dated :     Brooklyn, New York
             March 20, 2008

                    By: /s/ Charles P. Sifton (electronically signed)
                               United States District Judge
